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                            UNITED STATES DISTRICT COURT
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                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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 10
       FELIX DELGADILLO,                 Case No. CV 20-10107-SVW (AS)
 11
                         Plaintiff,
                                         ORDER ACCEPTING FINDINGS,
 12
             v.
                                         CONCLUSIONS AND RECOMMENDATIONS
 13
       LOS ANGELES COUNTY
       DISTRICT ATTORNEYS OFFICE,        OF UNITED STATES MAGISTRATE JUDGE
 14
       ET. AL.,
 15
                         Defendants.
 16

 17
            Pursuant to 28 U.S.C. section 636, the Court has reviewed the
 18
      First Amended Complaint, all of the records herein, and the Report
 19
      and Recommendation of a United States Magistrate Judge.               After
 20
      having made a de novo determination of the portions of the Report
 21
      and Recommendation to which Objections were directed, the Court
 22
      finds that Plaintiff’s Objections to the Report and Recommendation
 23
      do not cause the Court to reconsider its decision to accept the
 24
      Magistrate Judge’s conclusions and recommendations.
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  1         IT IS ORDERED that Judgment shall be entered dismissing this
  2   action with prejudice.
  3

  4         IT IS FURTHER ORDERED that the Clerk serve copies of this

  5   Order on Plaintiff at his current address of record.

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  7   DATED: April 28, 2021

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  9                                            ______________________________
                                                     STEPHEN V. WILSON
 10                                            UNITED STATES DISTRICT JUDGE
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